

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-47,341-09






EX PARTE EUGENE SHANNON ABNER, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 610227 IN THE 180TH JUDICIAL DISTRICT COURT


FROM HARRIS COUNTY






	Per curiam.



O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant pleaded guilty to aggravated sexual
assault of a child in exchange for deferred adjudication community supervision.  He was later
adjudicated guilty and sentenced to thirty years' imprisonment.

	In his present application, Applicant raises three grounds for challenging his conviction.  This
application, however, presents a more serious question.  This Court's records reflect that Applicant
has filed six prior applications challenging this conviction.  It is obvious from the record that
Applicant continues to raise issues that have been presented and rejected in previous applications
or that should have been presented in previous applications.  The writ of habeas corpus is not to be
lightly or easily abused.  Sanders v. U.S., 373 U.S. 1 (1963); Ex parte Carr, 511 S.W.2d 523 (Tex.
Crim. App. 1974).  Because of his repetitive claims, we hold that Applicant's claims are barred from
review under Article 11.07, § 4, and are waived and abandoned by his abuse of the writ.  This
application is dismissed.

	Therefore, we instruct the Honorable Louise Pearson, Clerk of the Court of Criminal
Appeals, not to accept or file the instant application for a writ of habeas corpus, or any future
application attacking this conviction unless Applicant is able to show in such an application that any
claims presented have not been raised previously and that they could not have been presented in a
previous application for a writ of habeas corpus.  Ex parte Bilton, 602 S.W.2d 534 (Tex. Crim. App.
1980).

	A copy of this order shall be sent to the Texas Department of Criminal Justice, Correctional
Institutions Division.



Filed: May 25, 2011

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